            Case 2:21-cr-00900-KG Document 49 Filed 03/25/22 Page 1 of 9


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                                                                             UNITED ST;*;[IJ I]iI*TftiCT CCTJRT
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                         IN THE UNITED STATES DISTRICT                couRT
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                                                                               M   ITCI.IHI-I- R. ELFERS
                                                                                    CI-ERK CF COUIlT
 LINITED STATES OF AMERICA,                            )
                                                       )
                Plaintiff,                             )
                                                       )
        vs.                                            )    CRIMTNAL NO. 21-CR-9oo KG
                                                       )
 MARK D. BEALE, M.D.,                                  )
                                                       )
                Defendant.                             )


                                        PLEA AGREEMENT

       Pursuant to Federal Rule of Criminal Procedure       1   1(cXlXC), the parties hereby notify the

Court of the following agreement between the United States Attorney for the District of New

Mexico, the defendant, MARK D. BEALE, M.D., and the defendant's counsel, MARY

STILLINGER:

                                REPRESENTATION BY COUNSEL

       l.      The defendant understands the defendant's right to be represented by an attorney

and is so represented. The defendant has thoroughly reviewed all aspects of this case with the

defendant's attorney and is   fully satisfied with that attorney's legal representation.

                                  RIGHTS OF THE DEFENDANT

       2.      The defendant further understands the following rights:

               a.      to plead not guilty;

               b.      to have a trial by ju.y;

               c.      to confront and cross-examine witnesses and to call witnesses to testifu for
                       the defense; and

               d.      against compelled self-incrimination.
          Case 2:21-cr-00900-KG Document 49 Filed 03/25/22 Page 2 of 9




                          WAIVER OF RIGHTS AND PLEA OF GUILTY

       3.      The defendant hereby agrees to waive these rights and to plead guilty to Count 18

of the Indictment charging a violation of 21 U.S.C. $$ 8al(a)(l) and (b)(l)(C): Unlawful

Dispensing and Distributing of a Schedule    II Controlled   Substance.

                                  ELEMENTS OF THE OFFENSE

       4.      The elements of 21 U.S.C. $$ 8al(a)(l) and (bXl)(C): Unlawful Dispensing and

Distributing of a Schedule II Controlled Substance, are:

                    a.   The defendant dispensed a controlled substance;

                    b. The defendant did so knowingly and intentionally;         and

                    c.   The defendant dispensed the controlled substances outside the usual course

                         of professional practice and not for a legitimate medical purpose.

                                           SENTENCING

       5.      The defendant understands that the minimum and maximum penalty the Court can

impose as to both counts is:

               a.        imprisonment for a period of not more than twenty (20) years;

               b.        a fine not to exceed $1,000,000.00;

               c.        a mandatory term of supervised release of not less than three (3) years. (If
                         the defendant serves a term of imprisonment, is then released on supervised
                         release, and violates the conditions of supervised release, the defendant's
                         supervised release could be revoked--even on the last day of the term--and
                         the defendant could then be returned to another period of incarceration and
                         a new term of supervised release);

               d.        a mandatory special penalty assessment   of   $I   00.00; and

               e.        restitution as may be ordered by the Court.

       6.      The parties are aware that the Court may accept or reject this plea agreement or

may defer its decision as to acceptance or rejection until there has been an opportunity to consider
            Case 2:21-cr-00900-KG Document 49 Filed 03/25/22 Page 3 of 9




the presentence report. Pursuant to Federal Rule of Criminal Procedure 11(c)(5),            if   the Court

rejects this plea agreement, the defendant shall have the right to withdraw the defendant's plea        of

guilty.

          7.     The United States hereby expressly reserves the right to make known to the United

States Probation     Office and to the Court, for inclusion in the presentence report prepared pursuant

to Federal Rule of Criminal Procedure 32, any information that the United States believes may be

helpful to the Court, including but not limited to information about any relevant conduct under

ussc      $ 1B1.3.

          8.     Except under circumstances where the Court, acting on its own, fails to accept this

plea agreement, the defendant agrees that, upon the defendant's signing of this plea agreement, the

facts that the defendant has admitted under this plea agreement as set forth below, as       well   as any

facts to which the defendant admits        in open court at the defendant's plea hearing, shall         be

admissible against the defendant under Federal Rule of Evidence 801(dX2XA) in any subsequent

proceeding, including a criminal trial, and the defendant expressly waives the defendant's rights

under Federal Rule of Criminal Procedure 11(f) and Federal Rule of Evidence 410 with regard to

the facts the defendant admits in conjunction with this plea agreement. The Court has not acted on

its own   if its rejection of the plea agreement occurs after the defendant   has expressly or   implicitly

suggested to the Court a desire or willingness to withdraw his or her plea or not to be bound by the

terms of this plea agreement.

                               DEFENDANT'S ADMISSION OF FACTS

          9.     By my signature on this plea agreement, I am acknowledging that I am pleading

guilty because I am, in fact, guilty of the offense(s) to which I am pleading guilty. I recognize and

accept responsibility for my criminal conduct. Moreover, in pleading guilty,         I acknowledge that
          Case 2:21-cr-00900-KG Document 49 Filed 03/25/22 Page 4 of 9




if I chose to go to trial instead of entering this plea, the United   States could prove facts sufficient

to establish my guilt of the offense to which I am pleading guilty beyond a reasonable doubt,

including any facts alleged in the Indictment that increase the statutory minimum or maximum

penalties. I specifically admit the following facts related to the charges against me, and declare

under penalty of perjury that all of these facts are true and correct:

       From on or about July 8, 2016, and continuing to on or about April 5r20l9rl
       was a physician licensed by the State of New Mexico, and I practiced medicine
       in Las Cruces, New Mexico. During this time, I also possessed a Drug
       Enforcement Administration registration number, which authorized me to
       prescribe Schedule II through V controlled substances.

       Between July 2016 and April20l9,I treated many patients for psychiatry and
       pain management, including Jane Doe 1. While treating Jane Doe 1, I failed to
       document many of the prescriptions that I prescribed in her clinical record.I
       conducted cursory exams and did not document a therapeutic benefit from the
       narcotics I was prescribing for her. I failed to conduct a complete medical,
       physical, or psychiatric evaluation and I made no attempt to document her
       medical history. Jane Doe I's record included insufficient clinical evidence to
       support the diagnoses I made, and the prescriptions I wrote for her were not
       supported by the listed diagnoses. I also failed to conduct adequate clinical
       monitoring like urine drug screening and prescription monitoring inquires.
       Despite a diagnosis of opioid abuse on more than one occasion, I did not treat
       the issue or refer Jane Doe I for appropriate care, but I continued to prescribe
       opioids. I also chronically prescribed opioids and benzodiazepines, which put
       Jane Doe I at unacceptable risk of addiction, diversion, or overdose.

       On June 29, 2018, I wrote Jane Doe I a prescription for 120 tablets of
       oxycodone hcl 30 mg. I intended that Jane Doe 1 receive the controlled
       substances that I prescribed. Jane Doe I filled this prescription the same day.
       I knew the prescription was issued outside the usual course of medical practice
       and without a legitimate medical purpose.

        10.    By signing this agreement, the defendant admits that there is a factual basis for each

element of the crime(s) to which the defendant      will   plead   guilty. The defendant   agrees that the

Court may rely on any of these facts, as well as facts in the presentence report, to determine the

defendant's sentence, including, but not limited to, the advisory guideline offense level.
             Case 2:21-cr-00900-KG Document 49 Filed 03/25/22 Page 5 of 9




                                          STIPULATIONS

        I   l.   The United States and the defendant stipulate as follows:

                 a.     The defendant and the United States agree, pursuant to Federal Rule of

Criminal Procedure 11(c)(l)(C), that a specific sentence of 60 months imprisonment, followed by

a five-year term of supervised release, is appropriate. The remaining components of                the

defendant's sentence, including but not limited to any fine or restitution, shall be imposed by the

Court after the presentation of evidence and/or argument by the parties;

                 b.     The defendant and the United States agree that the specific sentence

proposed herein shall be served concurrently with any sentence imposed in State of New Mexico

v. Mark Beale,D-306-CR-201900869, Third Judicial District of New Mexico;

                 c.    Jhe    defendant and the United States agree that the sentence imposed herein
 .   ..c*y*           6{tln
shall y*dprior to ah'y sentence imposed in State of New Mexico v. Mark Beale, D-306-CR-
201900869, Third Judicial District of New Mexico; and

                 d.     The defendant and the United States agree that defendant shall self-

surrender to federal custody   within ninety (90) days of imposition of sentence in this matter.

                                  DEFENDANT' S OBLIGATIONS

        12.      The defendant understands the defendant's obligation to provide the United States

Probation Offrce with truthful, accurate, and complete information, including, but not limited to

defendant's true identity, citizenship status, and any prior criminal convictions. The defendant

hereby represents that the defendant has complied with and       will   continue to comply with this

obligation. The defendant understands that any misrepresentation with respect to the above

obligations may be considered a breach of this plea agreement.
          Case 2:21-cr-00900-KG Document 49 Filed 03/25/22 Page 6 of 9




       13.     The defendant agrees that any financial records and information provided by the

defendant to the Probation Office, before or after sentencing, may be disclosed to the United States

Attorney's Office for use in the collection of any unpaid financial obligation.

       14.     By signing this plea agreement, the defendant waives the right to withdraw               the

defendant' s plea   of guilty pursuant to Federal Rule of Criminal Procedure   11   (d) unless:   (I   ) the

court rejects the plea agreement pursuant to Federal Rule of Criminal Procedure I l(c)(5) or (2) the

defendant can show a fair and just reason as those terms are used in Rule I l(dX2XB) for requesting

the withdrawal. Furthermore, defendant understands that      if the court rejects the plea   agreement,

whether or not defendant withdraws the guilty plea, the United States is relieved of any obligation

it had under the agreement and defendant shall be subject to prosecution for any federal, state, or

local crime(s) which this agreement otherwise anticipated would be dismissed or not prosecuted.

                                  WAIVER OF APPEAL RIGHTS

       15.     The defendant is aware that29 U.S.C. $ 1291 and 18 U.S.C. 5 3742 afford a

defendant the right to appeal a conviction and the sentence imposed. Acknowledging that, the

defendant knowingly waives the right      to appeal the   defendant's conviction and any sentence,

including any fine, at or under the maximum statutory penalty authorized by law, as well as any

order of restitution entered by the Court. The defendant also waives the right to appeal the denial

of any motion filed under 18 U.S.C. $ 3582(c)(1)(A) where such denial rests in any part upon the

court's determination that "extraordinary and compelling reasons" for a sentence reduction are

lacking or that a sentence reduction is not warranted under the factors set forth in 18 U.S.C.             $


3553(a). In addition, the defendant agrees to waive any collateral attack to the             defendant's

conviction and any sentence, including any fine, pursuant to 28 U.S.C. $$ 2241, 2255, or any other

extraordinary writ, except on the issue of counsel's ineffective assistance.
          Case 2:21-cr-00900-KG Document 49 Filed 03/25/22 Page 7 of 9




                                GOVERNMENT'         S   AGREEMENT

        16.    Provided that the defendant fulfills the defendant's obligations as set out above, the

United States agrees not to bring additional criminal charges against the defendant arising out of

the facts forming the basis of the present Indictment.

        17.    The United States   will   move at the time of sentencing to dismiss Counts   l-77 and

Counts 19-454 the Indictment.

        18.    This agreement is limited to the United States Attorney's Office for the District of

New Mexico and does not bind any other federal, state, or local agencies or prosecuting authorities.

                                          VOLUNTARY PLEA

        19.    The defendant agrees and represents that this plea of guilty is freely and voluntarily

made and is not the result of force, threats or promises (other than the promises set forth in this

plea agreement and any addenda). The defendant also represents that the defendant is pleading

guilty because the defendant is in fact guilty.

                              VIOLATION OF PLEA AGREEMENT

       20.     The defendant understands and agrees that        if the defendant or the defendant's
attorney violates any provision of this plea agreement, the United States may declare this plea

agreement   null and void, and the defendant will thereafter be subject to prosecution for       any

criminal violation including, but not limited to, any crime(s) or offense(s) contained in or related

to the charges in this case, as well as perjury, false statement, and obstruction ofjustice, and any

other crime committed by the defendant during prosecution of this case.

                                     SPECIAL ASSESSMENT

       21,.    At this time of sentencing, the    defendant   will tender a money order or certified

check payable to the order of the United States District Court, District of New Mexico, 333 Lomas
         Case 2:21-cr-00900-KG Document 49 Filed 03/25/22 Page 8 of 9




Boulevard, NW, Albuquerque, New Mexico 87102, in the amount of $100.00 in payment of the

special penalty assessment described above.

                                 ENTIRETY OF AGREEMENT

       22.     This document and any addenda are a complete statement of the agreement in this

case and may not be altered unless done so in     writing and signed by all parties. The parties agree

and stipulate that this agreement   will   be considered part of the record of defendant's guilty plea

hearing as if the entire agreement had been read into the record of the proceeding. This agreement

is effective upon signature by the defendant and an Assistant United States Afforney, and upon

entry of a guilty plea by the defendant pursuant to this agreement.

       AGREED TO AND SIGNED this 17th day of March,2022.

                                                         FRED J. FEDERICI




                                                         200 N. Church Street
                                                         Las Cruces, NM 88001
                                                         (s7s) s22-2304 - Tel.
                                                         (575) 522-2391 - Fax
          Case 2:21-cr-00900-KG Document 49 Filed 03/25/22 Page 9 of 9




        This agreement has been read to me in the language I understand best, and I have carefully
discussed every part of it with my attorney. I understand the terms of this agreement, and I
voluntarily agree to those terms. My attorney has advised me of my rights, of the elements of the
offense, of possible defenses, of the sentencing factors set forth in l8 U.S.C. $ 3553(a), of the
relevant sentencing guidelines provisions, and ofthe consequences of entering into this agreement.
No promises or inducements have been given to me other than those contained in this agreement.
No one has threatened or forced me in any way to enter into this agreement. Finally, I am satisfied
with the representation of my attorney in this matter.




                                                       Defendant



       I am the attomey for MARK D. BEALE, M.D. I            have carefully discussed every part of
this agreement with my client. Further, I have fully advised my client of his rights, of the elements
of the offense, of possible defenses, of the sentencing factors setforth in 18 U.S.C. $ 3553(a), of
the relevant sentencing guidelines provisions, and of the consequences of entering into this
agreement. To my knowledge, my client's decision to enter into this agreement is an informed
and voluntary one.




                                                       MAR               GER
                                                       Attorney for    fendant




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